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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

ORLANDO DIVISION
In re:
GLOBAL CONSULTING, INC, Case No.: 2:24-bk-00353-GER
Chapter 11
Debtor.
/

MUSTAPHA BOUJANA, Adv. Proc. No. 6:24-ap-00005-GER

Plaintiff,
vs.

GLOBAL CONSULTING, LLC, and
PEDRO ALFONSI,

Defendants.
/
PLAINTIFE’S MOTION TO COMPEL DISCOVERY
“TIME-SENSITIVE”

NOTICE OF OPPORTUNITY TO OBJECT AND
REQUEST FOR HEARING

If you object to the relief requested in this paper you must file a response with the
Clerk of Court at George C. Young Federal Courthouse, 400 W. Washington Street,
Suite 5100, Orlando, FL 32801 within 21 days from the date of the attached proof
of service, plus an additional three days if this paper was served on any party by
U.S. Mail.

If you file and serve a response within the time permitted, the Court will either
notify you of a hearing date or the Court will consider the response and grant or
deny the relief requested in this paper without a hearing. If you do not file a
response within the time permitted, the Court will consider that you do not oppose
the relief requested in the paper, and the Court may grant or deny the relief
requested without further notice or hearing.

You should read these papers carefully and discuss them with your
attorney if you have one. If the paper is an objection to your claim in this
bankruptcy case, your claim may be reduced, modified, or eliminated if
you do not timely file and serve a response.

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Pursuant to Federal Rule of Civil Procedure 37 and all applicable local Rules
and orders of this Court, Creditor/Plaintiff, Mustapha Boujana, Pro Se, hereby move
the Court for entry of an order (i) deeming admitted all requests for admission; (ii)
compelling Defendant to produce all documents responsive to the Request for
Production; and (iii) compelling Defendants to fully and completely answer the
Interrogatories; and (iv) overruling objections that may be raised by Defendants in
response to Plaintiffs Request for Admission, for Production of Documents
(“Request for Production”) and Interrogatories. In support of the motion, Plaintiff

states as follows:
Statement of Facts
1. On April 21, 2024, Plaintiff served Defendant Global Consulting, LLC
(“Global”) by email his discovery requests and interrogatories, a true and correct copy

is attached here within as Exhibit-01.

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mer} A MB

Good day,
This is to serve on Global Consulting discovery requests/interrogatories propounded by Mustapha Boujana.
Thank you.

Mustapha Boujana
Pro Se,
Email : mboujana@yahoo.com

Personal & Confidential,
This e-mail i ing any ) from Mi Boujana, Pro Se, Is for the sole use of the intended mciptent(s) and may contain ial and fon. if the reader of this message
is nol the intended recipfent, you are hereby notified that any di: i! review, use, or of this e-mail is. H you have received this communication in error, please
immediately nofify us, by email to mboujana@yahoo,com, and retum the origina! message to the sender and delete any copies from your system. Thank you.

1

2. On April 28, 2024, Plaintiff filed his Amended Proof of Service of his

discovery requests and interrogatories on Defendant Global Consulting, LLC. A true
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and correct copy is attached here within as Exhibit-02.

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Amended Proof_of_Service_by Non_Attomey of Discovery requests.pdf v
sot} 159 KB

Good day,

This is to file the Piaintiff's Amended Proof of Service by Non-Attorney (Mustapha Boujana) of Discovery requests in relation to the Adv. Prac.
Case No. 6:24-ap-00005-GER.

My Apologies,
Thank you.

Mustapha Boujana
Plaintiff, Pro Se,
Email: mboujana@yahoo.com

Personal & Confidential.

This e-mail mi a any hi from Boujana, Pro Se. Is for tha sole uso af the intended tecipient(s) and may contain ial and privileged If the reader of this message
is not the intended recipient, you are hereby notified that any i i izad review, use, or dk of this e-mail Is prohibited. If you have secelved this communication In error, please
immediately notify us, by email at mboujana@yahao.com, return the original message to the sender, and delete any copies from your system. Thank you.

3. During the hearing held on May 23, 2024 at 10:15 A.M. Eastern Time,
before the honorable Judge Robson, Plaintiff raised the issue of discovery requests
propounded on Debtor in the associated Adversary Proceeding that has not been
answered within the thirty (80) days.

4, When asked by the Court “if he knew anything about that”, Debtor’s
Counsel of record, Mr. Herron, response was: “If he did, I am not aware of’; and Mr.
Tessitore testified right after, that he saw a proof of service of plaintiff's request for
discovery and that he did not know what it was about since he wasn’t served
anything”. It is worth mentioning that Mr. Tessitore is not Debtor’s counsel of record,
hence he has not been served with the discovery request.

5 . The sought-after information is directly relevant to Plaintiffs efforts to

|

demonstrate the fraudulent misrepresentation and unlawful misappropriation of

Plaintiffs property. Limiting discovery of this information would affect the truth-
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seeking function of a jury, for the failure to present any ultimately admissible
information would diminish the jury’s right to assess the truthfulness of Plaintiffs
claims and Defendants’ defenses.

WHEREFORE, Plaintiff, Mustapha Boujana, respectfully requests this
Court enter an Order allowing the reliefs sought in this motion, and because the
“time-sensitive” issue, Plaintiff also requests the Court to award any additional relief

that the Court deems fair and equitable under the circumstances.

Respectfully submitted on June 20, 2024, by:

/s/ Mustapha Boujana
MUSTAPHA BOUJANA

Plaintiff, Pro Se

LE 14— APT. 8, Rue Michel Ange
Racine, 21100 Casablanca, Morocco

mboujana@yahoo.com

CERTIFICATE OF COMPLIANCE
(As to meet and confer)

I hereby certify that Mustapha Boujana, pro se, with full authority to resolve
this matter, had a substantive conversation by telephone on June 18th, 2024, with
Kenneth D. Herron Jr., Debtor’s attorney, in a good faith effort to resolve the igeues
raised in the motion herein before it was filed, but the parties were unable to reach

an agreement.
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PROOF OF SERVICE

UNDER PENALTY OF PERJURY, MOVANT, who is a Creditor in the
Bankruptcy Case No. 6: 24-bk-00353-GER, hereby certifies that on May 24, 2024, a

copy of the foregoing Motion has been served both electronically via email to:

1. Pedro Alfonsi at pedro.alfonsi@hotmail.com,

2. Kenneth D. Herron, (Debtor’s Attorney) at chip@herronhilllaw.com,

3. Audrey M. Aleskovsky, (DOJ-Ust, United States Trustee — ORL), at
audrey.m.aleskovsky@usdoj.gov

4. Todd L. Budgen, (Trustee), at todd@c1ltrustee.com

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EXHIBIT — “01”

True Copy of Plaintiffs Discovery Requests of Admission (RFA) and Production of
Documents (RFP) and Interrogatories as served on Defendant Global Consulting,
LLC on April 21, 2024

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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

ORLANDO DIVISION
In re:
Chapter 11
Debtor.

/| Adv. Proc. No. 6:24-ap-00005-GER
MUSTAPHA BOUJANA, State Court Case No.:

2022-CA-001733-O0

Plaintiff,
vs INTERROGATORIES, REQUESTS FOR
. ADMISSIONS AND REQUESTS FOR
GLOBAL CONSULTING, INC., and PRODUCTION OF DOCUMENTS OF
PEDRO ALFONSI MUSTAPHA BOUJANA
Defendants. [No Hearing Required]

/

PROPOUNDING PARTY: MUSTAPHA BOUJANA
RESPONDING PARTY: GLOBAL CONSULTING, LLC.
SET No.: ONE (01)

Pursuant to Fed. R. Civ. P. 26, 38, 34, and 36, made applicable to this
proceeding pursuant to Rules 70338, 7034, 7086, and 9014 of the Fed. R. Bankr. P.,
and all applicable orders of this Court, Mustapha Boujana (“Mr. Boujana”), Creditor,
pro se, hereby requests that (a) Global Consulting, LLC (“Global”) prepare and file

answers in writing and under oath, to these discovery requests and serve a copy of

such answers and/or Documents, via email: mboujana@yahoo.com, upon Mr.

Bouj ana.

DEFINITIONS
1. "Affiliates" shall have the meaning ascribed in section 101(2) of the

Bankruptcy Code.
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2. "And" as well as "Or" shall be construed disjunctively as well as
conjunctively, as necessary, to make the request inclusive rather than exclusive and
to bring within the scope of the paragraphs and subparagraphs below Documents

which might otherwise be construed to be outside the scope of this request.

3. "Bankruptcy Code" shall mean 11 U.S.C. sections 101-1330 et seq., as
amended.
A, "Claims" shall have the definition provided in section 101(5) of the

Bankruptcy Code.

5. "Claimant" shall mean Plaintiff Mustapha Boujana.

6. "Communications" means the transmittal of Information (in the form of
facts, ideas, inquiries, or otherwise) by any means, including, without limitation, by
public or private mail service, facsimile, memorandum, e-mail, telephone voice mail,
hand delivery, computer transmission, conversations in person or by telephone.

7. "Concerning" shall be construed to include pertaining to, relating to,
responding to, constituting, comprising, containing, setting forth, summarizing,
supporting, reflecting, stating, describing, recording, noting, embodying, mentioning,
studying, analyzing, discussing, identifying or evaluating, directly or indirectly, or in
any way being relevant to the subject matter.

8. "Court" shall mean the above-captioned United States Bankruptcy
Court for the Middle District of Florida in which this Chapter 11 bankruptcy case is
currently pending.

9. "Creditor" shall have the definition provided in section 101(10) of the

Bankruptcy Code.
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10. "Global" shall mean Global Consulting, LLC and its past and present
Affiliates, Insiders, officers, directors, employees, agents, attorneys, and other
representatives.

11. "Document" is used in its broadest sense and shall be construed to
include any and all writings, whether drafts, preliminary, proposed, or final versions,
printed, typed, photographed, computer-generated, graphic or recorded matter of
every type and description, however and by whomever prepared, produced,
reproduced, disseminated or made, in any form, whether sent or received, including,
without limitation, originals ( or copies where originals are unavailable) of all
writings, letters, e-mail, minutes, correspondence, telegrams, telexes, cables,
bulletins, instructions, notes, sound or video recordings of any type, memoranda,
inter-office Communications, including memoranda of telephone, personal or intra
office conversations and memoranda of meeting or conferences, studies, analyses,
reports, catalogues, results of investigations, contracts, licenses, agreements,
working papers, statistical records, ledgers, minutes, books of account, vouchers,
invoices, charge slips, time sheets or logs, computer diskettes, tapes or data,
stenographers notebooks, diaries, desk calendars, financial worksheets, telephone
bills or records, graphs, summaries, lists, tabulations, charts, maps, diagrams, blue
prints, tables, indices, pictures, advertisements, brochures, pamphlets, circulars,
trade letters, press releases, checks, check stubs receipts, invoices, vouchers, tape
data sheets or data processing cards or discs, or papers or items similar to any of the
foregoing, however denominated, now or at any time in your possession, custody, or

control. "Documents" shall also include (i) each copy that is not identical to the
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original or to any other copy and (ii) any tangible thing that is called for, or identified
in response to, any request. Without limiting the term "control" as used above, a
Document is deemed to be in the control of the responding party if that party has the
right to obtain the Document or a copy thereof from another Person or public or
private entity having actual possession thereof.

12. "Fact" shall include, without limitation, each and every act, omission,
transaction, circumstance, contention, occurrence, and event.

13. "Unsecured Creditor" shall mean a Creditor holding a Claim against the
Debtor's bankruptcy estate that is not secured under section 506 or entitled to priority
under section 507 of the Bankruptcy Code.

14. "Identify" means as follows:

(a) When used in reference to a Person, to state such Person's full

name, last known address and telephone number, last known
business, last known business address and telephone number, and
last known employer and position.

(b) When used in reference to a Document, to state the type of

document - letter, memorandum, telegram, chart, etc.), its date, its
general subject matter, and to identify each Person who prepared it,
each Person who received it, and each Person who presently has
possession, custody or control of it, or, if none, who last had
possession, custody or control of it. If any Document was but no
longer is in your possession or control, state what disposition was

made of it and identify the Person responsible for said disposition.
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(c) When used in reference to a firm, to state its full name, type of
entity (e.g., corporation, partnership, sole proprietorship, joint venture,
etc.), its last known address and telephone number, and the nature of
its business.

(d) When used in reference to a Communication, to state the
manner of Communication (e.g., personal meeting, telephone
conversation, in writing, etc.), the date of the Communication, the
place where the Communication occurred, the general substance of the
Communication, and to identify each Person who made the
Communication, each Person present at the time said Communication

was made, and each Person who received said Communication.

15. "Impaired" shall have the meaning ascribed in section 1124 of the
Bankruptcy Code.
16. "Information" shall be expansively construed and shall include, without

limitation, facts, data, opinion, images, impressions, concepts and formulas.

17. "Insiders" shall have the meaning ascribed in section 101(81) of the
Bankruptcy Code.

18. "Person" shall have the meaning ascribed in section 101(41) of the
Bankruptcy Code.

19. "Petition Date" shall mean January 25, 2024, the date on which Global

Consulting, LLC commenced the above-captioned bankruptcy.
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20. "Possession" shall mean the possession or control of the Respondent(s),
Respondent's agents, employees, representatives, attorneys or any other Person from
whom the Respondents might obtain the requested Information or Document.

21. "Relating to" means constituting, or directly or indirectly evidencing,
mentioning, describing, relating to, referring to, pertaining to, being connected with

or reflecting upon the stated subject matter.

22. "Requests" shall mean these written requests.

23. "You" or "Your" shall mean Respondents.

24, “Mr. Boujana” shall mean Creditor/Plaintiff Mustapha Boujana.

25. “PDVSA” shall mean PDVSA Petrdleos, S.A. (Venezuela sate owned

Petroleum Company)
INSTRUCTIONS

1. Respondents are requested to provide all Information, Documents
and/or Communications in answer to each request within the knowledge or
possession of its agents, attorneys, investigators, or the agents of the foregoing or any
other Person who has made such Information known to Respondents or from whom
Respondents can obtain such Information. If Respondents do not have certain of the
requested Information in their immediate possession, Respondents are requested to
make reasonable and diligent efforts to obtain such Information, and to describe such
efforts and the results thereof in their answers if the information is not provided.

2. In the event that any Document, or any portion of any Document, within
the scope of a Request is withheld from production upon a claim of privilege, work

product, or for any other reason, including, without limitation, such Document was
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lost, destroyed or otherwise disposed of since its preparation or receipt, you are
requested to provide a list identifying each Document so withheld, together with the
following no later than May 18, 2024.
a) a statement constituting the basis for any claim of privilege, work
product, or other ground of non-disclosure or non-production;
b) if, applicable, the full particulars or circumstances whereby the
Document was lost, destroyed or otherwise disposed of; and

Cc) a brief description of the Document including:

1. the type of Document;
il. the date of the Document;
li. the number of pages, attachments, and appendices;

lv. the name(s) of its author(s) or preparer(s) and identification
by employment and title of each such Person;

v. the name(s) of each Person to whom the Document, or a copy
thereof, was sent, shown, or made accessible, or to whom it was
explained, together with an identification of each such Person;

vi. the subject matter of the Document;
vil. last custodian of the Document or copies thereof; and

Vill. the paragraph of this Request to which the Document relates.

3. In construing a Request, the singular includes the plural and vice versa;
the masculine includes the feminine and neuter genders; the past tense includes the
present tense where the clear meaning is not destroyed by the change in tense.

4. , Concerning the Documents produced, you shall:

a) produce them as they are kept in the usual course of business or

shall organize and label them to correspond with each numbered
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paragraph and each lettered subparagraph of this Request in response to

which such Documents are produced;

b) identify the source of each Document by department, division,
and/or Person; and

Cc) bates stamp or otherwise provide an identifying code on each

Document produced.

5. If any of the Documents cannot be produced in full, produce to the extent
possible, specifying the reasons for the inability to produce the remainder.

6. If not otherwise specified, the Requests should be construed to require
all Information, Documents and/or Communications relevant to a Request for the
time period of January 1, 2014 to the date of Respondents' responses to the Requests.

7. The Requests shall be continuing, and supplemental responses hereto
shall be required immediately if Respondents obtain, or learn of the existence of,
further or different Information.

8. In furnishing responses to the Requests, Respondents are cautioned to -
omit nothing by way of Information or detail; Claimants will assume that, where
Information is not provided, it does not exist and where detail is missing, it cannot

be provided.

REQUESTS FOR ADMISSION
]. Admit that on September 15, 2021, you received an email with a
“Demand Letter for Immediate Payment” (See Exhibit — “A”) attached to, sent by
Attorney James Slater on behalf of Mustapha Boujana.
2. Admit that on September 23, 2021, you responded to the “Letter” with

an email including the attachment referenced here (See Exhibit - “B”).
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3. Admit that, in response to Exhibit - “B”, on September 27, 2021, attorney
James Slater sent you another email, opening the door for a potential resolution of
the dispute in an effort to avoid litigation in court (See Exhibit — “C”).

4. Admit that on October 1, 2021, you responded with an email including
the attachment referenced here (See Exhibit — “D”).

5. Admit that, on October 5, 2016, you received an email (attached here as
Exhibit — “E”) from Mr. Jesus Benavides, PDVSA’s Deputy Director of Exploration
and Reservoir Integrated Studies, in which he stated that PDVSA has honored
payments to Global Consulting.

6. Admit that, between October and December 2016, you received funds
from PDVSA to pay for Plaintiffs invoices, as mentioned in the email above in item
5.

7. Admit that you never paid Plaintiff any monies between October 5, 2016,
and February 15, 2017.

8. Admit that, on February 3, 2016, you received a second email (attached
here as Exhibit - “F”’) from Mr. Jesus Benavides, PDVSA’s Deputy Director of
Exploration and Reservoir Integrated Studies, in which he stated that you should
attend Plaintiffs request for payment.

9. Admit that on February 3, 2017, you contacted Mr. Boujana and asked
him to make some minor corrections to his invoices and sign a copy of the Independent
Contractor Agreement No. 0252014 (‘IC Agreement”) for you to make payment for

his owed and overdue monies.
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10. Admit that Mr. Boujana asked, at least twice, for the return of the IC
Agreement signed by Global Consulting, LLC.

11. Admit that you never returned to Mr. Boujana a copy of the signed IC
Agreement as requested.

12. Admit that on February 17, 2017, you only paid Mr. Boujana part of his
owed monies that you received between October 2016 and February 2017, specifically
Boujana’s invoices 1, 2, and 4.

18. Admit that between May 30, 2015, and February 28, 2017, you received
payment from PDVSA corresponding at least, to Mr. Boujana’s invoices 1, 2, 3, 4, and
5.

14. Admit that Global Consulting, LLC has not let its “active” status with
the Florida Secretary of State lapse between 2017 and the present.

15. Admit that you have billed Mr. Boujana’s work for PDVSA between
April 2014 and May 2015, under Contract No. 4600054083 (“GC-Contract”) signed
between you and PDVSA.

16. Admit that the GC-Contract was signed for the period between February
3, 2014, and November 30, 2015, with a lump sum amount of US $8,401,048.28

17. Admit that, under the GC-Contract, you billed at least a total amount of
US $5,630, 754.85 for the work of contractors including Mr. Boujana.

18: Admit that you have received, at least, an amount of US $3,507,869.01

corresponding to contractors’ (including Mr. Boujana) work duly performed for

PDVSA. -

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19. Admit that Global’s invoices 0699-2014, 0738-2014, 0739-2014, 0740-
2014, 0756-2015, 0757-2015, and 0758-2015, were billed to PDVSA under the concept
of “Professional Fees of the Advisor Mustapha Boujana” plus a 10% stipend for
Global’s administrative work.

20. Admit that the above-mentioned invoices have been processed for
' payment by PDVSA’s Financial Department with the approval of Mr. Darvis Varela
and Mr. Euries Gil (PDVSA’s officials tasked with supervision and approval of Mr.
Boujana’s work) (See Exhibit — “G@”).

21. Admit that you knew that Mr. Darvis Varela was Mr. Boujana’s
Supervisor and the one who was responsible for the approval of his Technical Reports,
Timesheets, and Reimbursable Expenses.

22. Admit that you never paid any monies, either owed or in advance, to Mr.
Boujana before February 17, 2017.

23. Admit that the email attached here within (Exhibit- “H”) was the last
email you ever sent to Mr. Boujana, since February 28, 2017 to present.

INTERROGATORIES

Interrogatory No. 1

As the principal of Global Consulting, LLC, describe your formal education, including
the name of each school attended, the dates when you attended each school, and whether any
degree or certificate was obtained from each school.

ANSWER:

Interrogatory No. 2

‘Identify with specificity and detail all documentary evidence in your possession,
custody, or control related to the defenses and/or affirmative defenses alleged in your
response to Plaintiffs Second Amended Complaint. For each item identified, state the full

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name and address of the record custodian, the location of the document, and the name(s) of
all person(s) who have been provided with a copy.

ANSWER:

Interrogatory No. 3

Please list each and every exhibit that you intend to have admitted into evidence at
the time of trial and for each exhibit please state:

a. The name, professional status, job title, and address of each individual who
presently has custody of the original of the exhibit.

b. The name, address, job title, and professional status of each and every witness
from whom you will, at the time of trial, elicit testimony to admit the exhibit as evidence.

ANSWER:

Interrogatory No. 4

Identify all documents ‘in your possession which support your responses to these
interrogatories.

ANSWER:

Interrogatory No. 5

Provide the full name, professional status, job title, email, phone and address of the
official from PDVSA who you contend has lodged with Global Consulting LLC, a formal
complaint against Plaintiff for nonperformance, and any formally signed documents that
prove such contention.

ANSWER:

Interrogatory No. 6

For each denial of a material allegation and each special or affirmative defense in your
pleadings, state all facts upon which you base the denial or special or affirmative defense.

ANSWER:

Interrogatory No. 7

Did you ever send any communication to Plaintiff between February 23, 2014 and
January 2024? Ifyes, provide all and any documents containing such communications.

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ANSWER:

Interrogatory No. 8

Except for this action, within the past 10 years, have you been sued by any other
independent contractor? If yes, please state the date of each action/charge and the court or
administrative entity with whom it was filed.

ANSWER:

Interrogatory No. 9

Did you ever pay any monies, either in advancements or otherwise to Plaintiff before
February 2017? If, yes, for each payment, provide all and any documents in support of such
payments.

ANSWER:

Interrogatory No. 10

While Plaintiff was performing under the IC Agreement between April 2014 and May
2015, did you communicate to PDVSA and/or Plaintiff any nonperformance of Plaintiff that
you contend occurred during the specified interval? If yes, provide all and any documents,
emails, or other media that prove your contention.

ANSWER:

Interrogatory No. 11

Did you make any efforts to collect payments from PDVSA in order to pay for
Plaintiffs monies? If yes, give details as to when, how many times, and the current status.
Provide documents that attest to such efforts.

ANSWER:

Interrogatory No. 12

Do you contend that Mr. Boujana owes Global any money? If yes identify the amount
owed and provide all and any documents, emails, or other media that prove your contention.

ANSWER:

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DOCUMENT REQUESTS

1) True copy of the Contract (GC-Contract) between Global Consulting, LLC
(“Global”) and PDVSA Petréleos, S.A. (““PDVSA”) under which you billed Plaintiffs work.

2) All communications, concerning Plaintiff, between Global and PDVSA,
relating to (a) all work performed by Plaintiff for PDVSA, (b) any instructions given to Global
by PDVSA related to contracting Plaintiff, (c) all complaints, if any related to Plaintiff, from
PDVSA, and (d) any communication that refers to the relation between Plaintiff, Global, and
PDVSA.

3) All communications from PDVSA requesting Global to provide Plaintiffs
professional services.

4) All communications between Global and PDVSA concerning invoices
submitted to you by Plaintiff.

5) All documents relating to the contract attached to the Second Amended
Complaint as Exhibit A.

6) All communications between Global and PDVSA related to any invoices
received by you from Plaintiff.

7) All documents evidencing payments from PDVSA relating to Plaintiff.

8) All approvals from PDVSA relating to Plaintiff.

9) All communications and documents related to your statement that “Global
Consulting, LLC has been inactive for the last four years, and has no assets.”

10) All of your tax returns, K-1s, and other tax filings for fiscal years 2014 to
present.

11) ~All balance sheets, profit and loss statements, and financial statements from

January ‘1, 2014, to present.

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12) All expert reports, including all drafts and versions of any report, notes,
working papers, calculations, diagrams, photographs, models, exhibits, and other documents
prepared or reviewed by all witnesses who will offer an expert opinion on your behalf in this
lawsuit.

13) All documents provided or shown to you by any witness who may offer expert
opinions in this lawsuit.

14)  Allinsurance contracts that Global is obligated to have.

15) All documents, other than those you produced in response to any of the
foregoing requests, upon which you rely, or intend to rely, in connection with the allegations
asserted by you in this lawsuit.

Dated: April 21, 2024.
By: /s/ Mustapha Boujana

Mustapha Boujana, pro se

mboujana@yahoo.com

CERTIFICATE OF SERVICE

I hereby certify that on this 21st day of April 2024, a true and correct copy of the
foregoing has been furnished via email to the Defendant’s attorney Kenneth D. Herron
Jr., at chip@herronhilllaw.com: and to Pedro Alfonsi, Global’s Principal at
pedro.alfonsi@hotmail.com.

By: /s/ Mustapha Boujana

Mustapha Boujana, pro se

15
Case 6:24-ap-00005-GER Doc46 Filed 06/20/24 Page 22 of 66

EXHIBITS RELATED TO
REQUEST FOR ADMISSION

16
Case 6:24-ap-00005-GER Doc46 Filed 06/20/24 Page 23 of 66

EXHIBIT - “A”

Email with “Demand Letter for Immediate Payment”

17
9/22/21, 11:07 PM Case 6:24-ap-00005-GER Doda Peqmpienshepotope4 Page 24 of 66

Boujana v. Global Consulting - Demand for Immediate Payment

James M. Slater <james@slater.legal>
Wed 9/15/2021 11:27 AM
To: pedro.alfonsi@hotmail.com <pedro.alfonsi@hotmail.com>

oj 1 attachments (3 MB)
Demand Ltr to Global Consulting. pdf;

Mr. Alfonsi,

Please find the attached correspondence on behalf of Mustapha Boujana. If Global Consulting is
represented by counsel, please forward this correspondence to counsel immediately.

Regards,
James Slater
Slater Legal PLLC ©

+1 (305) 523-9023 | slater.legal

james@slater.legal

IMPORTANT: The contents of this email and any attachments are confidential. They are intended for the named recipient(s) only. If you have received
this email by mistake, please notify the sender immediately and do not disclose the contents to anyone or make copies thereof.

https://outlook.live.com/mail/Ojunkemail/id/AQMKADAWAT Y3ZmYAZSO5NTKSLT MxY jct MDACLTAWCgBGAAADIGZpW1 i2Z0kiUomvY QvZObgceA1cCzW... 1!

Global's Response to 1st RTP 000053.
Case 6:24-ap-00005-GER Doc46 Filed 06/20/24 Page 25 of 66

SL

Via Electronic & Certified Mail

Global Consulting, LLC

c/o Pedro Alfonsi

13506 Summerport Village Pkwy #409
Windermere, Florida 34786
pedro.alfonsi@hotmail.com

September 15, 2021

Re: Mustapha Boujana v. Global Consulting LLC
Demand for Immediate Payment

Mr. Alfonsi:

| represent Mustapha Boujana, with whom | Know you are already familiar. If
Global Consulting is represented by counsel, please direct this correspondence to
counsel and provide me their contact information so that | may communicate directly
with counsel.

As you know, Global Consulting contracted with Mr. Boujana to serve as a
payment administrator for his performance of certain geological work in Venezuela for
the benefit of Petréleos de Venezuela, S.A. (PDVSA). See Independent Contractor
Agreement, attached as Exhibit A. Mr. Boujana performed such work throughout 2014
and 2015 at his agreed-upon daily rate of USD $1,450, and Global Consulting was
obligated to pay Mr. Boujana for his services irrespective of whether Global Consulting
was able to recover ultimate payment from PDVSA. Specifically, between 2014 and
2015 Mr. Boujana worked 193 days for the benefit of PDVSA, entitling him to payment
by Global Consulting in the amount of USD $279,850. In or around 2014 and 2015 Mr.
Boujana invoiced Global Consulting for this work after rendering services, but you
ignored him—presumably because you are based in Florida and Mr. Boujana is based
in Morocco and you believed that it would be difficult for him to pursue collection against
you. You calculated incorrectly.

In February 2017—and only after Mr. Boujana lodged complaints directly with
PDVSA—you agreed to pay Mr. Boujana the sums due to him in exchange for him
revising his invoices and signing another identical independent contractor agreement.
Specifically, on or around February 7, 2017, you told Mr. Boujana that there were some
discrepancies in his original invoices and that you needed him to correct the invoices so
that you could process payment:

Slater Legal PLLC | slater.legal | +7 (805) 523-9023 | james@slater.legal
Case 6:24-ap-00005-GER Doc46 Filed 06/20/24 Page 26 of 66

Mustapha Boujana v. Global Consulting
Page 2 of 3

2) Invoice 006 (Octubre 2014): Revisar. Los dias trabajados y cantidades en moneda
ho corresponden con los reflejados en el informe y la hoja de tiempo para ef mismo
periodo. Son 11 dias. Favor, corregir.

Es muy importante que reciba los originales lo antes posible para poder proceder
administrativamente.

Para cualquier aclaratoria, no dudes en contactarme nuevamente.

Saludos cordiales,
Pedro Alfonsi

Mr. Boujana made the corrections and sent new invoices via DHL. Then, on February
17, 2017, you wrote to Mr. Boujana informing him that you had transferred USD
$62,250 to satisfy 3 of the 11 invoices he issued to you:

EI Viernes, 17 de febrero, 2017 0:42:24, Pedro Alfonsi <pedro.alfonsi@hotmail.com> escribid:

Estimado Mustapha,

Se ha transferido a tu cuenta la cantidad de USD 65,250.00 por concepte de facturas
001, 002,004. En las préximas horas deberds recibir un email de notificacion del banco
por esta transaccién. Favor, confirmar por esta misma via la recepcién de fos

fondos tan pronto recibas la transferencia.

Saludos cordiales,

Pedro Alfonsi

When Mr. Boujana asked you why you were only paying 3 of the 11 invoices, you
responded that you were negotiating with PDVSA to continue making payments—that

PDVSA was improving its cash flow and would honor Mr. Boujana’s payments as soon
as possible:

To: Mustapha Boujana <mboujana@yahoo.com>
Subject: Re: Mustapha Boujana Honorarios Profesionales PDVSA.

Buenas tardes Mustapha,

Gracias. por confirmar. Pensé que PDVSA te habia informado que fo que se pagd
realmente fue un pago parcial. Estamos negociando con ellos para que se contintien
abonando pagos. Las noticias en matena petrolera son alentadoras. Aparentemente,
PDVSA esta mejorando:-su flujo de caja y ellos estan concientes y propuestes a honrar
dichos pagos Io antes posible. Como te expliqué telefonicamente, hay posibilidades alla
y ellos quieren normalizar todo.

‘Saludos cordiales,

Pedro Alfons

Slater Legal PLLC | slater.legal | +1 (305) 523-9023 | james@slater.legal
Case 6:24-ap-00005-GER Doc46 Filed 06/20/24 Page 27 of 66

Mustapha Boujana v. Global Consulting
Page 3 of 3

Yet, PDVSA is not a party to your agreement with Mr. Boujana—you, and solely you,
were and remain obligated to pay my client. The agreement states that PDVSA will
approve timesheets, technical reports, and invoices, but not that PDVSA must pay
Global Consulting prior to you paying Mr. Boujana. See Ex. A § 1. Specifically, Exhibit A
section 1 of the Independent Contractor Agreement provides that:

[PDVSA] final approval of the timesheet, technical report, as well as the
invoice of professional services paid to [Global Consulting] by [PDVSA], in
accordance to such timesheet, and technical report of the services
performed, are mandatory in order to process or make any professional
fee payments to [Mr. Boujana].

In interpreting a contract, “the words used by the parties must be given their plain and
ordinary meaning.” Beans v. Chohonis,740 So.2d 65, 67 (Fla. 3d DCA 1999). The
cardinal rule of contract interpretation is that when the language of a contract is clear
and unambiguous, the contract must be interpreted and enforced in accordance with the
plain meaning." R.J. Reynolds Tobacco Co. v. Webb, 187 So. 3d 388, 392 (Fla. ist
DCA 2016). A contract “should be considered as a whole in determining the intention of
the parties to the instrument.” Bucacci v. Boutin, 933 So.2d 580, 585 (Fla. 3d DCA
2006) (citation omitted). And “a court must construe a contract in a manner that accords
with reason and probability; and avoid an absurd construction.” Kipp v. Kipp, 844 So.2d
691, 693 (Fla. 4th DCA 2003).

Here, the contract states merely that PDVSA must approve the invoice and
supporting documents prior to you processing or making payment to my client. This is
unambiguous and clear and has occurred in this instance—my client invoiced you,
PDVSA approved payment, and therefore payment should have been made in full. See
PDVSA approval, attached as Exhibit B. Despite doing everything properly, Global
Consulting failed to act. When you did act in 2017, you requested that my client
generate and resubmit corrected invoices, which then became due and payable under
the contract. By paying a portion but not all of the amount that was due in 2017, you
breached.the contract and damaged my client. See DNA Sports Performance Lab, Inc.
v. Club Atlantis Condo. Ass'n, Inc., 219 So.-3d 107, 109 (Fla. 3d DCA 2017).
Accordingly, at present you owe Mr. Boujana USD $214,600 for professional services
based on his 2017 invoices. In the event you fail to make payment in full for the
outstanding invoices by no later than 5:00 p.m. eastern time on September 30, 2021,
my client has authorized this law firm to file suit to recover the unpaid amounts due and
owing under the contract. This letter is without prejudice to my client’s rights or
remedies at law or in equity, all of which are expressly reserved.

Sincerely,
Slater Legal PLLC

James Slater

Slater Legal PLLC | slater.legal | +1 (305) 523-9023 | james@staiter.legal
Case 6:24-ap-00005-GER Doc46 Filed 06/20/24 Page 28 of 66

EXHIBIT - “B”

Global’s first response to “Demand Letter for
Immediate Payment”

18
Case 6:24-ap-00005-GER Doc 46 Filed 06/20/24 Page 29 of 66

Global Consulting, LLC

September 22, 2021

James Slater
Slater Legal PLLC
Via email

Dear Mr. Slater,
This is in response to your “Demand for Immediate Payment” letter dated September 15, 2021.

Global Consulting, LLC completely denies all the claims, allegations, and accusations in your
letter. The independent. contractor agreement 0252014 between Global Consulting, LLC and
Mustapha Boujana clearly states that Mr. Boujana would only be paid upon Global Consulting,
LLC receiving payments from PDVSA. Global Consulting, LLC has not received payment for the
invoices submitted since February 2017. Therefore, Global Consulting, LLC is not obligated to
pay Mr. Boujana.

| would also point out that Global Consulting, LLC has been inactive for the last four years, and
has no assets.

Sincerely,

Pedy Alfonsi
_Gobal Consulting, LLC

13506 Summerport Village Pkwy Windermere, Fl 34786

Global's Response to ist RTP 000057
Case 6:24-ap-00005-GER Doc46 Filed 06/20/24 Page 30 of 66

EXHIBIT —- “C”

Second Email related to “Demand Letter for Immediate
Payment” and offer for settlement

19
10/1/21, 9:43 AM “Case 6:24-ap-00005-GER Do AG pedriladn@6RaR4 Page 31 of 66

Re: Boujana v. Global Consulting - Demand for Immediate Payment

James -M. Slater <james@slater.legal>
Tue 9/28/2021 9:35 AM
To: Pedro Alfonsi <pedro.alfonsi@hotmail.com>

Mr. Alfonsi:

If either you or Global Consulting is represented by counsel, please forward this correspondence to
counsel and immediately inform me of the same.

| have reviewed your letter. | strongly disagree with your view, which is belied by the plain language of
the contract and parties’ intent. In an effort to avoid litigation costs, it may be mutually beneficial to
discuss a potential resolution to this dispute. Otherwise, my client has authorized my law firm to sue
Global Consulting and to investigate whether the company exists or existed as your alter ego for

_. purposes of your own culpability. Please advise if you are interested in having such a discussion. If |
do not hear back from you or your counsel by the end of this week, | will assume that you are not
interested in resolving this dispute and we will proceed accordingly.

Regards,

James Slater

On Thu, Sep 23, 2021, 17:33 Pedro Alfonsi <pedro.alfonsi@hotmail.com> wrote:
Dear Mr. Slater,
‘ See attachment.
Sincerely,
Pedro Alfonsi
- Global Consulting, LLC

: g
ae i

. httpé://outlook.live.com/mail/O/inbox/id/AQQkADAWATY3ZmYAZSOSNTK3LTMxYjctIDACLTAWCgAQAIGS6GRLinRNsxQOuLBomB8%3D 1/2
Case 6:24-ap-00005-GER Doc46 Filed 06/20/24 Page 32 of 66

EXHIBIT - “D”

Global’s second response to “Demand Letter for
Immediate Payment”

20
Case 6:24-ap-00005-GER Doc46 Filed 06/20/24 Page 33 of 66

Global Consulting, LLC

COo RACE

September 30, 2021

James Slater
Slater Legal PLLC
Via email

Dear Mr. Slater,

This is in response to your email dated September 28, 2021.

Global Consulting, LLC is not represented by legal counsel, and it is not able to afford to hire an attorney.
As far as | am concerned, there is no dispute from my point of view. Global Consulting, LLC has agreed
to pay Mr. Boujana his fees when it collects the money from PDVSA. Perhaps you can direct your efforts
and legal expertise to collect the funds from PDVSA.

Sincerely,

¢

/
Pedr? Alfonsi
Global Consulting, LLC

13506 Summerport Village Pkwy Windermere, FL 34786

oo
Case 6:24-ap-00005-GER Doc46 Filed 06/20/24 Page 34 of 66

EXHIBIT - “E”
First Email from PDVSA’s Official to Global/Alfonsi

21
Case 6:24-ap-00005-GER Doc 46 Filed 06/20/24 Page 35 of 66

From: JESUS BENAVIDES <BENAVIDESJ@PDVSA.COM>
Sent: Wednesday, October 5, 2016 2:26 PM

To: pedro.alfonsi@hotmail.com; jecabellom@gmail.com

Cc: Mustapha Boujana; EURIES GIL; CAROLINA CARPIO
Subject: Rm: Information about Professional Fees payment

Good afternoon

Dear Pedro Alfonsi, first of all, a cordial greeting, regarding Mr. Mustapha's request, PDVSA
honored commitments to Global Consultin that allow determined payment to be made to Mr.
Mustapha.

Best regards

Jesus Benavides.

Telephone: 95- 7 4682 / 04166805536.
Exploration and Integrated Reservoir Studies.

----- Sent by JESUS BENAVIDES/BENAVIDESJ/EP/PDVSA dated 05/10/2016 02:19 p.m. -----

Global's Response to 2nd Amended RTP 000082

From: JESUS BENAVIDES <BENAVIDESJ@PDVSA.COM>
Sent: Wednesday, October 5, 2016 2:26 PM

To: pedro.alfonsi@hotmail.com; jecabellom@gmail.com
Cc: Mustapha Boujana; EURIES GIL; CAROLINA CARPIO
Subject: Rm: Informacién sobre pagos de Honorarios

Buenas tardes,

Estimado Pedro Alfonsi, ante todo un saludo cordial, referente a la solicitud del Sr. Mustapha,
PDVSA honro compromisos a Global Consultin que permiten realizar determinado pago al Sr.
Mustapha. —
“Saludos,

Jestis Benavides.

Teléf.: 95- 74682 / 04166805536.

Exploracion'y Estudios Integrados de Yacimientos.

-~— Remitido por JESUS BENAVIDES/BENAVIDESJ/EP/PDVSA con fecha 05/10/2016 02:19
PIM,

Global's Response to 2nd Amended RTP 000082
Case 6:24-ap-00005-GER Doc46 Filed 06/20/24 Page 36 of 66

EXHIBIT — “F”
Second Email from PDVSA’s Official to Global/Alfonsi

22
Case 6:24-ap-00005-GER Doc46 Filed 06/20/24 Page 37 of 66

From: JESUS BENAVIDES <BENAVIDESJ@PDVSA.COM>

Sent: Friday, February 3, 2017 5:30 PM
To: pedro.alfonsi@hotmail.com
Subject: Rm: Mustapha Boujana PDVSA Professional Fees.

Dear Pedro, first of all, a cordial greeting, take care of this case. Please check your finances,
you should have received a deposit in this regard.

Best regards

Jesus Benavides.
Phone: 95- 74682 / 04166805536.
Exploration and Integrated Studies of Reservoirs.

----- Sent by JESUS BENAVIDES/BENAVIDESJ/EP/PDVSA dated 03/02/2017 06:26 p.m. --

Mustapha Boujana
<mboujana@yahoo.com> 01/29/2017 06:56 PM

Please reply to
Mustapha Boujana
<mboujana@yahoo.com>

Global's Response fo ond Amended RIP 000080
Frorti JESUS, BENAVIDES: SBENAVIDESI@POVSA: COM>:

Estimado Pedro; ar O-cordial; <atender-este'caso..‘Por favor revisar, ‘tufinanzas:
debes:haber recibi

‘Saludos;.

Global's Response to: 2nd Amended: RTP.000080:
Case 6:24-ap-00005-GER Doc46 Filed 06/20/24 Page 38 of 66

EXHIBIT - “G”

Global’s invoices processed by PDVSA Financial
Department

23
Case 6:24-ap-00005-GER Doc46 Filed 06/20/24 Page 39 of 66

Exploration and Preduction
Local Eastern Support
+ +CVR + MAILSV/FPDVSALOCVR CVR

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}

Purchasing organization PCCO

Entry of Service sheet.

Building PDVA Exploracién y Produccién

Number/Date

Av. Alirio Ugarte Pelayo, Maturin 6201

1005832353 / 09.04.2014

Edo. Monagas i

Period / Position / Date

Phone number. (0291) 6406103 0d

‘(4502429147 / 1 / 08.19.2014

Our responsible

R.LF.: Branch: 1 DARVIS VAREL

GLOBAL CONSULTING LLC Your Provider Number in our company
P.O. Box. NONE >

1 CARACAS 1

VENEZUELA Your Number

A-PF-0699-2014

Place of provision of services.
PUERTO LA CURZ

“GLOBAL

Your Responsible

Term

07.01.2014 - 07.31.2014

Final Entry:

No. PF 0699-2014 PROFESSIONAL FEES MUSTAPHA BOUJANA

INVOICE No, 0699-2014 CORRESPONDING TO
PROFESSIONAL FEES OF THE ADVISOR MUSTAPHA BOUJANA 48 M/H + 10% STIPEND

CECO:101322226

DEDUCT THE 10% CORRESPONDING TO THE FAITHFUL PERFORMANCE BOND

Service Line Quantity Denomination Unit Price USD Net Value USD
10 48 Professional Honoraries P10 373.95 17,949.60
20 1,794.96'STIPEND (USD10%) 1 1,794.96
SG
Total Value without Sales Tax USD 19,744.56:
0.00

_ Part Not Planned USD

[Global's Response to 2nd Amended RTP 000073

Case 6:24-ap-00005-GER Doc46 Filed 06/20/24 Page 40 of 66

Exploracién y Producci6n
Local Orierte Soporte
++CVR +MAILSV/FPDVSALOCVR CVR

Organizacién de Compra PCCO
Edif. PDVSA Exploracién y

Produccién

Av. Alirio Ugarte Pelayo, Maturin | NumeroFecha

6201, 1005832353 / 04.09.2014

Edo. Monagas * | Pedido / Posicién / Facha

tl£. (0291) 6406103 4502429147 / 1 / 19.08.2014
Nuestro Responsable

R.LF.: Sueursal: 1 DARVIS VAREL

GLOBAL CONSULTING LLC Su n° Proveedor en nuestra empr.

Apartado NO TIENE h

1 CARACAS ———

VENEZUELA Su Numero
A-PF-0699-2014

Lugar prestackin del Servicio Su Persona Responsable

PUERTO LA CRUZ - GLOBAL

Perfado

01.07.2014 - 31.07.2014

Entrada Final: No
PF 0699-2014 HOCNORARIOS MUSTAPHA BOUJANA

PROFORMA 0699-2014 CORRESPONDIENTES A HONORARIOS PROFESIONALES DEL
- ASESOR MUSTAPHA BOUJANA

48 H/H. +10%ESTIPENDIO ;

CECO:101322226

DESCONTAR EL 10% CORRESPONDIENTE A LA FIANZA DE FIEL CUMPLIMIENTO

Linea Servicio Denominaci6n’ .
Cantidad Unidad Precio Unitario USD Valor Neto USD
10 HONORARIOS PROFESIONALES: P10
48 H/#H 373,95 17.349,60
20 ESTIPENDIO (USD 10%)
‘ . 1.794,960 SG 1,00 1.794, 96
Valor Total sin TVA USD . 19.744,56
Parte no Planificada USD 0,00

Global's Response to 2nd Amended RTP 000073
Case 6:24-ap-00005-GER Doc46 Filed 06/20/24 Page 41 of 66

CERTIFIED: TRANSLATION FROM. SPANISH:TO:ENGLISH

CERTIFICATION OF TRANSLATION

Thereby certify: that,’ ‘to'the:best.of my knowledge; the'foregoing is:an accurate translation from the ‘Spanish. ‘into
the English language, ‘made by® the: ‘undersigned,; ‘who:is. conversant’ with both languages. Although: ful “attention:
has :been: given: -to producing: ‘a -reliable: ‘translation,. ‘the undersigned: shall. :not: be: held lable for: :any.
misintérpretation or-error. ‘inthis translation other thaii:to: provide:upon demand: ‘d-revision,: ‘correcting any ‘such’

misinterpretation: or-error..

The: ‘statéments'in: ‘the English langu: j he:attached translatior’. have.the Sameimeaning as the statements in’
the Spanish'language in:the document that'I’have examined:

‘Signed in Orlando; Florida,-this 2. BNA pay ot ~

Vanessa: Caetano’ 0 Professional, Translator

anc Sze
‘traducoesdedocumentos@gmail.com:

Signature::.. Ve te
Vanessa: Caetano; Professional Translator

Certified’ fransiation'by Vanessa Castano:
‘Amember:of the American Translators:Association (ATA), _
‘Acmember-of:ATA Spanish, Language Division, Member:of ATA No. 269049

Case 6:24-ap-00005-GER Doc46 Filed 06/20/24 Page 42 of 66

Exploration and Production
Local Eastern Support
++4+CVR + MAILSV/FPDVSALOCVR CVR

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Purchasing organization PCCO Entry of Service sheet.
Building PDVA Exploraci6n y Produccion 5 _|Number/Date a
Av. Alirio Ugarte Pelayo, f Maturin 6201 1006003932 / 12.29.2014 _

Edo. Monagas

Period / Position / Date

Phone number. (0291) 6406108

4502429147 / 1 / 08.19.2014

Our responsible

t

R.I.F.: Branch: 1 : EURIES GIL

GLOBAL CONSULTING LLC Your Provider Number in our company
P.O, Box: NONE

1 CARACAS i
VENEZUELA Your Number

A-PF-0738-2014

PUERTO LA CURZ

Place of provision of services|

Your Responsible

“}GLOBAL

r

09. .01.2014 - 09.30. 2014 |

Final Entry:

No. PF 0738-2014 PROFESSIONAL FEES MUSTAPHA BOUJANA

INVOICE NO. 0738-2014 CORRESPOND

CECO:101322226

ING TO

PROFESSIONAL FEES OF THE ADVISOR MUSTAPHA BOUJANA 176 M/H + 10% STIPEND

DEDUCT THE 10% CORRESPONDING TO THE FAITHFUL PERFORMANCE BOND

‘Quantity

Service Line Denomination Unit Price USD : Net Value USD
10 176 Professional Honoraries P10 373.95} 65,815.20
: H/H (Man Hours) i
20 16,581.52 SPTIPEND (USD10%) 1; 6,581.52
: Total Value without Sales Tax USD 72,396.72
Part Not Planned USD 0.00;

"_|Globa's Response to 2nd Amended RTP 000070

Case 6:24-ap-00005-GER Doc46 Filed 06/20/24 Page 43 of 66

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Producei én
Alirio. Ugarte Pelayo, Maturin ‘Namero/Fachn:
6201, 1006003932 / 29.12.2014
Edo. Monagas Pedido / Poulalén / Facha
tlL£.. (0291) 6406103 4502429147 / 1 / 19.08.2014
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RLF: Sucursali 2 EURIES GIL
GLOBAL CONSULTING LLC ~ Su.s° Provesdor on nusstra..ompe,
Apartado NO TIENE bocce ee,
‘2 CARACAS: - — —
VENEZUELA, Sa Ndmero _
A+-PF-0738-2014:-
Luger prastaclén-dol Sarvicio Su. Parcone Responsable
‘PUERTO LA CRUZ - GLOBAL
Porlodo . .
01.09.2014 - 30.09.2014 2 UR

Entrada Final: No: me ae
- PP 0738-2014 HONORARIOS MUSTAPHA BOUJANA ;

PROFORMA 0738-2014 CORRESPONDIENTES A HONORARIOS PROFESIONALES DEL
ASESOR MUSTAPHA -BOUJANA

176 H/H +1LO%ESTIPENDIO

CECO:101322226

DESCONTAR EL 10% CORRESPONDIENTE A LA FIANZA DE | RIEL CUMPLIMIENTO

‘Linea Servicio —— Denominacién . .
Cantidad: Unidad ‘Practo Unitario. USD: Valor Neto USD
10 | HONORARIOS PROFESIONALES' P10. a
176 H/H 373,98 65.815,,.20
20 _ CESTIPENDIO (USD.10%)
6.581,520 SG 1,00 6.581,52
| Valor Total-sin IVA USD _ 72-.396,72
Parte no Planificada USD 0,00.

Global's‘Response-to 2nd Amended RTP 000070
Case 6:24-ap-00005-GER Doc 46 Filed 06/20/24 Page 44 of 66

CERTIFIED TRANSLATION FROM SPANISH TO:ENGLISH

CERTIFICATION OF TRANSLATION

1 hereby certity: that, ‘to: ‘the: best. ‘oft my: wiped the’ Toregotng aie accurate Warislation: from: the Spanish. Into

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misinterpretation ‘or-error.

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320-300-1869
‘traducoesdedocumentos@gmail.com.

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“Member‘of the American.t tanslators Association ATA), oF ATA’ Spanish Language Division, Member of ATA'No, 269049

Signature: AVA. *,
-Nanessa: Caetano; P. Professional Translator

Certifi ed Translation by;Vanessa Caetano:
‘A member:of the-American Translators:Association (ATA),
‘A-nember of AT shi Language Division, Member:of ATA’ No: 269049

Case 6:24-ap-00005-GER Doc46 Filed 06/20/24 Page 45 of 66

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Exploration and Production
Local Eastern Support
++CVR + MAILSV/FPDVSALOCVR CVR

Purchasing organization PCCO|

Entry of Service sheet.

Building PDVA Exploracién y Produccién

Number/Date

Av. Alirio Ugarte Pelayo, Maturin 6201

1006003956 / 12.29.2014

Edo. Monagas

7

Phone number. (0291) 6406103

Period / Position / Date

~ 14502429147 117 08.19.2014

Our responsible

R.I.F.: Branch: 1 EURIES GIL

GLOBAL CONSULTING LLC Your Provider Number in our company
P.O. Box. NONE

1 CARACAS :

VENEZUELA Your Number

‘A-PF-0739-2014

‘Nour Responsible ents temeneeee ene enna

PUERTO LA CURZ

‘GLOBAL

Term

10.01.2014 - 10.31.2014

Final Entry:

No, PF 0739-2014 PROFESSIONAL FEES MUSTAPHA BOUJANA

CECO:101322226

INVOICE NO. 0739-2014 CORRESPONDING TO
PROFESSIONAL FEES OF THE ADVISOR MUSTAPHA BOUJANA 88 M/H + 10% STIPEND

DEDUCT THE 10% CORRESPONDING TO THE FAITHFUL PERFORMANCE BOND

|

Service Line Quantity Denomination Unit Price USD Net Value USD
10 88|Professional Honoraries P10 | 373.95 32,907.60
_ _ H/H (Man Hours)
20 3,290.76|SPTIPEND (USD10%) 1 3,290.76)
SG
Total Value without Sales Tax USD 36,198.36
Part Not Planned USD 0.00,

:Global's Response to 2nd Amended RTP 000078

Case 6:24-ap-00005-GER Doc46 Filed 06/20/24

/ Exploracién y Produccién

Page 46 of 66

f : Local Oriente Soporte

++CVR +MAILSV/FPDVSALOCVR CVR

Organizacién de Compra PCCO

Edif.| PDVSA Exploracién y
Produccién

Av. Alirio Ugarte Pelayo, Maturin
6201,

Edo. Monagas

tlf. (0291) 6406103 -

R.LE.;  Sucursal: 1
GLOBAL CONSULTING LLC
Apartado NO TIENE

1 CARACAS

Ndmero/Fecha

1006003956 / 29.12.2014

Pedido / Posicién / Fecha

4502429147 / 1 / 19.08.2014
Nuestro Responsable

EURIES GIL

Su n° Proveedaor en nuestra empr.

VENEZUELA Su Némero

A-PF-0739-2014
Su Persona Responsable.

GLOBAL

Lugar prestacién del Servicio

PUERTO LA CRUZ

Perlodo

01.10.2014 - 31.10.2014

Entrada Final: No .
PF 0739-2014 HONORARIOS MUSTAPHA BOUJANA

PROFORMA 0739-2014 CORRESPONDIENTES A HONORARIOS PROFESIONALES DEL
ASESOR MUSTAPHA BOUJANA

88 H/H +10%ESTIPENDIO

CECO: 101322226 .

DESCONTAR EL 10% CORRESPONDIENTE A LA FIANZA DE FIEL CUMPLIMIENTO

Linea Servicio Denominacién
Cantidad Unidad Precio .Unitario USD Valor Neto USD
10 HONORARIOS PROFESIONALES P10
88 H/H 373,95 32.907,60
20 ESTIPENDIO (USD 10%)
3.290,760 SG 1,00 3.290,76
Valor Total sin IVA USD 36.198, 36
Parte no Planificada. USD 0,00

Global's Response to 2nd Amended RTP 000078
Case 6:24-ap-00005-GER Doc46 Filed 06/20/24 Page 47 of 66

CERTIFIED TRANSLATION FROM SPANISH TO ENGLISH

_ ANCA CE HANAN,

iecindeslne translation, the: undersigned shal

he:attached translation: have the same’ meaning asthe statements in:
the Spanish: languége inthe‘docurientthat'l’have examined:

translation other than: tO: ‘provide: ‘upon demand. 73 revisto correcting any’ ‘Such:

_Signature:.. * ¥. co
Nanessa: Caetano; Professional Translator’

Certified ‘Translation: by Vanessa Caetano;
JA memb oF th American Translators: ‘Association Ne

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1
wh
3

Case 6:24-ap-00005-GER Doc46 Filed 06/20/24 Page 48 of 66

Exploration and Production
Local Eastern Support

+ +CVR + MAILSV/FPDVSALOCVR CVR

!

Purchasing organization PCCO Entry of Service sheet.
Building PDVA Exploraci6n y Produccion Number/Date
‘Av. Alirio Ugarte Pelayo, ‘Maturin 6201 14006008895 12.29.2014 = = ————s—i—i‘“—s~™~™~™
Edo. Monagas Period / Position / Date
Phone number. (0291) 6406103 - 4502429147 / 1 / 08.19.2014

: Our responsible
R.I.F.: Branch: 1 EURIES GIL
GLOBAL CONSULTING LLC Your Provider Number in our company
P.O. Box: NONE :
MCARACAS ——.———™ oT
VENEZUELA : Your Number

: A-PF-0740-2014
Place of provision of services === | =SS—<iéiés™~™C.___ |Your Responsible = :
PUERTO LA CURZ : GLOBAL
Term 4
11.01.2014 - 12.12.2014 '
Final Entry: wee eens ete piece cements ce eeete cae cetene ba cence eneeeme tne nin cetneeaie e nenneanene taf eee ane enema
No. PF 0740-2014 PROFESSIONAL FEES MUSTAPHA BOUJANA

INVOICE NO. 0740-2014 CORRESPONDING TO
PROFESSIONAL FEES OF THE ADVISOR MUSTAPHA BOUJANA 240 M/H + 10% STIPEND
CECO:101322226

DEDUCT THE 10% CORRESPONDING TO THE FAITHFUL PERFORMANCE BOND

_.. Service Line: Quantity | _____Denomination ===! ___Unit Price USD. = __|_Net Value USD

100 i 240)/Professional Honoraries P10 _ 373.95; 89,748.00
: H/H (Man Hours)

20 :  8,974.80,SPTIPEND (USD10%) 1 8,974.80

SG
. __ _| Total Value without Sales Tax USD 98,722.80
: Part Not Planned USD 0.00.
|Global's Response to 2nd Amended RTP 000077

Case 6:24-ap-00005-GER Doc46 Filed 06/20/24 Page 49 of 66

f Exptoracién y Produccién

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i
Fe

/ Organizacién de Compra PCCO
/ Edif. PDVSA Exploracién y
Produccién

Av. Alirio Ugarte Pelayo, Maturin Ndmero/Fecha

6201, .
Edo. Monagas
tl£. (0291) 6406103

R.LF.: Sucursal: 1
GLOBAL CONSULTING LLC
Apartado NO TIENE

. 1 CARACAS
VENEZUELA

Lugar prestacién del Servicio
PUERTO LA CRUZ

Periodo

01.11.2014 - 12.12.2014
Entrada Final: No

f Local Oriente Soporte
++CVR +MAILSV/FPDVSALOCVR CVR

1006003895 / 29.12.2014
Pedido / Posicién / Fecha

4502429147 / 1 / 19.08.2014
Nuestro Responsable

EURIES GIL

Su n° Proveedor en nuestra empr.

t
Sas

Su Ndmera
A-PF-0740-2014
Su Persona Responsable
GLOBAL

PF 0740-2014 HONORARIOS MUSTAPHA BOUJANA

PROFORMA 0740-2014 CORRESPONDIENTES A HONORARIOS PROFESIONALES DEL

ASESOR ‘MUSTAPHA BOUJANA
240 H/R +LOSESTIPENDIO
CECO: 103322226

DESCONTAR EL 10% CORRESPONDIENTE A LA FIANZA DE FIEL CUMPLIMIENTO

Linea Servicio Denominacién
Cantidad Unidad - Precio Unitario USD Valor Neto USD
10 HONORARIOS PROFESIONALES P10
240 H/H 373,95 89.748,00
20 ESTIPENDIO (USD 10%)
8.974,800 SG 1,00 8.974,80
Valor Total sin IVA USD 98.722,80
Parte no Planificada USD 0,00

Global's Response to 2nd Amended RTP 000077
Case 6:24-ap-00005-GER Doc46 Filed 06/20/24 Page 50 of 66

CERTIFIED TRANSLATION FROM SPANISH TO:ENGLISH

CERTIFICATION OF TRANSLATION

1 hereby’ certify: that,:to 'the:bést of my: knowledge; the’ ‘foregoing is:an accurate translation:from:the S jahish. into
“the Englisti | iguage,-made by'the. undersigned; ‘whois conversa:

has sbeen: .given: -to producing: ;

“feliable- translation, the: lindersigned: shall. not: be: held liab

for’ -any.

Misinterpr ation or: error.in. ‘this‘translation other thai: to:provide:upon demand: ‘a. ‘révisio ‘correcting any’such'

misinterpretation-or error.

The: ‘statements:‘in:the English languagein the: attached translation: have-the same: meaning as the statements in:

the Spanish'language‘in:the:document that'I‘have examined.

Signed in Oflando, Florida, this -2.°S Ih pay =

Vanessa. Caetano: Professional ‘Translator.

‘Ovando 83281
‘traducoesdedocumenitos@gmail.com:

with botit languages. ‘Although full’attention:

Signature: _ VA] i
-Wanessa: Caetano; Professional Translator

Certified Translation: by:Vanessa Caetano:
A memberof the American Translators Association (ATA),
‘Aimemberof ATA’ ‘Spanish. Langiiage, Division, Membér:of: ATA No. 269049

slashdot tty hide lathe el Stade Le ak lad acl, Usa ane Sader et
Case 6:24-ap-00005-GER Doc46 Filed 06/20/24 Page 51 of 66

Exploration and Production
_ Local Eastern Support
+ +CVR + MAILSV/FPDVSALOCVR CVR

|

i

Entry of Service Sheet.

"11006469685 / 12.21.2014

Number/Date

Edo. Monagas

Period / Position / Date

Phone number. (0291) 6406103

4502429147 /1/ 08.19.2014

Our responsible

R.LF.: Branch: 1 -|DARVIS VAREL

GLOBAL CONSULTING, LLG Your Provider Number in our company
P.O.Box. NONE ,

1 CARACAS

VENEZUELA Your Number

A-PF-0756-2015

Place of provision of services

Your Responsible i

PUERTO LA CURZ
Term

GLOBAL cc tee

01.12.2015 - 02.28.2015

Final Entry:

No. PF 0756-2015 PROFESSIONAL FEES MUSTAPHA BOUJANA

INVOICE NO. 0756-2015 CORRESPONDING TO

PROFESSIONAL FEES OF THE ADVISOR MUSTAPHA BOUJANA 280 M/H + 10% STIPEND

NOTE: DEDUCT THE 10% CORRESPONDING TO THE FAITHFUL PERFORMANCE BOND

|

Service Line Quantity Denomination Unit Price USD Net Value USD’

10 280| Professional Honoraries P10 373.061 104,706.00
_ H/H (Man Hours) i

20 10,470.60;/SPTIPEND (USD10%) 1 10,470.60

Total Value without Sales Tax USD | 115,176.60

0.00

Part Not Planned USD i

;

Global's Response to 2nd Amended RTP 000076

Case 6:24-ap-00005-GER Doc46 Filed 06/20/24

Organizaci6én de Compra PCCO

Edif. PDVSA Exploracién y
Produccién .

Av. Alirio Ugarte Pelayo, Maturin
6201,

Edo. Monagas

tl£. (0291) 6406103

R.1.F.: Sucursal: 1
GLOBAL CONSULTING LLC
Apartado NO TIENE

1 CARACAS

VENEZUELA

Lugar prestacién del Servicio

PUERTO LA CRUZ-ANZOATEGUI
Periodo .
12.01.2015 - 28.02.2015

Entrada Final: No
PF~0756~2015 HP MUSTAPHA BOUJANA

Page 52 of 66

“-+GVR WMAILSV/EPDVSALOCVA = CVA

Ndmero/Fecha

1006469685 / 21.12.2015

Pedido / Posici6n / Fecha

4502429147 / 1 / 19.08.2014
Nuestro Responsable .
DARVIS VAREL

Su n° Proveedor en nuestra empr.

Su N&mero

A-PF-0756-2015

- Su Persona Responsable

GLOBAL

PROFORMA 0756-201 5CORRESPONDIENTES A HONORARIOS PROFESIONALES DEL

ASESOR MUSTAPHA BOUJANA.
280 H/H :+ 10% ESTIPENDIO

NOTA: FAVOR DESCONTAR EL 10% CORRESPONDIENTE A LA FIANZA DE FIEL

CUMPLIMIENTO.
Linea Servicio Denominaci6n
Cantidad Unidad Precio Unitario USD Valor Neto USD
10 , . HONORARIOS PROFESIONALES P10
280 H/H 373,95 104.706,00
20 ESTIPENDIO (USD 103)
10.470,600 SG 1,00 10.470,60
Valor Total sin IVA USD 115.176,60
Parte no Planificada USD 0,00

Global's Response to 2nd Amended RTP 000076

‘the: English language,; ‘made’ by n DON languages. nN
has ‘been: . given. -to producing: a-:reliable- translation,. ‘the: uindérsigned: shall. not. be; “held liable for: ‘any.
misinterpret tion or errorin. this:translation othér than: ‘to:provide:upon demand:a. révision, ‘correcting any’such’

misinterpretation ‘orerror:.

Case 6:24-ap-00005-GER Doc46 Filed 06/20/24 Page 53 of 66

CERTIFIED TRANSLATION FROM SPANISH TO:ENGLISH i

CERTIFICATION OF TRANSLATION

I hereby certify: that, ‘to the: best-of: my: knowledge; the’ ‘foregoing: i is: an ‘accurate translation'f om: nthe § janish. into
he “undersigned; whois conversari tent

The: ‘statéments‘in: ‘the English language in the:attached translation. have; the game! meaning as the stateménts in’
the Spanish'language in:the:document that ‘have examined:

Slened in:Orlando,Fiorida, this 2: GM pay of “

Vanessa: Caetano! Professional ‘Transiator

‘321-304-1869:
‘traducoesdedocumentos@gmail.com:;

Signature:; . AVMIL-TK
Vanessa: ‘Caetano; Professional Translator”

Certified Translation by Vanessa‘Caetano:
A member:of the:American Translators Association (ATA),
‘A:member-of ATA Spanish. Language Division, Member:of:ATA No. 269049
Case 6:24-ap-00005-GER Doc46 Filed 06/20/24 Page 54 of 66

Exploration and Production
Local Eastern Support
+ +CVR + MAIL5V/FPDVSALOCVR CVR

I

|

‘Purchasing c organizationPCCO
‘Building PDVA Exploracién y Produccié

‘AN. Alitio Ugarte Pelayo, Maturin6201_

Entry of Service sheet.

Number/Date

~|4006469710/12.21.2015

‘Edo. Monagas i

Period / Position/ Date

‘Phone number. (0291) 64061 03

4502429147 / 1 /08.19.2014

Our responsible

RIF: Branch: 1

DARVIS VAREL
GLOBAL CONSULTING LLC Your Provider Number in our company
P.O. Box: NONE
1 CARACAS

Your Number

VENEZUELA

~ |A-PF-0757-2015  ~

‘Place of provision of services

Your Responsible

IPUERTOLACURZ |

(GLOBAL

‘Term

(03.02.2015 - 03.31.2015

Final Entry:

No. PF 0757-2015 PROFESSIONAL FEES MUSTAPHA BOUJANA

INVOICE NO. 0738-2014 CORRESPONDING TO
PROFESSIONAL FEES OF THE ADVISOR MUSTAPHA BOUJANA 176 H/H + 10% STIPEND

NOTE: DEDUCT THE 10% CORRESPONDING TO THE FAITHFUL PERFORMANCE BOND

|

Service Line Quantity Denomination Unit Price USD Net Value USD
40 - 176|Professional Honoraries P10 _ 373.95 65,815.20
: H/H (Man Hours)
‘20 ' 6,581.52) SPTIPEND (USD10%) 1 6,581.52
: SG
_ _____ |Total Value without Sales Tax USD __ 72,396.72
~ '|Part Not Planned USD ~ 0.00

Global's Response to 2nd Amended RTP 000075

Case 6:24-ap-00005-GER Doc46 Filed 06/20/24 Page 55 of 66

Organizacién de Compra PCCO

Edif. PDVSA Exploracién y RS
Produccién
Av. Alirio Ugarte Pelayo, Maturin | Numero/Fecha
6201, }1006469710 / 21.12.2015
Edo. Monagas Pedido / Posicién / Fecha
tlf. (0291) 6406103 4502429147 / 1 / 19.08.2014
Nuestro Responsable :
R.LF.: Sucursal: 1 , . DARVIS VAREL
GLOBAL CONSULTING LLC Su n° Proveedor en nuestra empr.
Apartado NO TIENE a
1 CARACAS ee en
VENEZUELA Su Numero
A-PF-0757-2015
Lugar prestaci6n del Servicio . Su Persona Responsable

PUERTO LA CRUZ-ANZOATEGUI GLOBAL
Perfado :

02.03.2015 - 31.03.2015

Entrada Final: No
PF-0757-2015 HP MUSTAPHA BOUJANA

PROFORMA 0757-2015 CORRESPONDIENTES A HONORARIOS PROFESIONALES DEL
ASESOR MUSTAPHA BOUJANA
176 H/H +.10% ESTIPENDIO

NOTA: FAVOR DESCONTAR EL 10% CORRESPONDIENTE A LA FIANZA DE FIEL
CUMPLIMIENTO .

Linea Servicio . Denominaci6n .
Cantidad Unidad Precio Unitario USD Valor Neto USD
10 . HONORARIOS PROFESIONALES P10
176 H/H 373,95 65.815,20
20 ESTIPENDIO (USD 10%)
6.581,520 SG 1,00 6.581,52
Valor Total sin IVA USD 72.396,72
Parte no Planificada USD 0,00

Global's Response to 2nd Amended RTP 000075
Case 6:24-ap-00005-GER Doc46 Filed 06/20/24 Page 56 of 66

CERTIFIED TRANSLATION FROM SPANISH :TO ENGLISH

CERTIFICATION OF TRANSLATION

| hereby” certify: ‘that, to:the:best of r my. knowledge; the:foregoing-is:ah accurate- translation fromthe Spanish. into

“the: Enelish language,- made by: the ‘undersigned, who's. conversarit’ with both: janguages.. Although full‘attention:
has ‘been: given: ‘to producing: ‘a-sreliable- ‘translation,, ‘the: undersigned: shall. not: be: held liable for: :any.
misinterpretation orerror.in. this: ‘translation other thai.to:provide‘upon demand: ‘a-revision;: corrécting any’such’
misinterpretation or error.

The stat i@ English language i ‘thesattached translation: have:the same: meaning as the statements in:
the: ‘Spanish’ language: in:the: document that'l‘have examined.

. Soe . - tee tee sy: ry i ; oe
Signed in:Orlando, Florida; this 2 Sl vayot :

Vanessa: Caetano: Professional ‘Translator

321-304-1869'
‘traducoesdedocumentos@gmail.com,

_Signature:: Aut AC.
Vanessa: Caetano; Professional Translator”

Certifi ed Translation’ by Vanessa Caetano:

‘A:‘member‘of: ATA ‘Spanish Lariguage, Division, : iMémbér: FATA No: 269049

Case 6:24-ap-00005-GER Doc46 Filed 06/20/24 Page 57 of 66

Exploration and Production
Local Eastern Support
+ +CVR + MAILSV/FPDVSALOCVR CVR

Purchasing organization PCCO

Entry of Service sheet.

Building PDVA Exploracion y Pr

Av. Alirio Ugarte Pelayo, Maturin 6201

oduccién |

~ {1006469726 /21.12.2015

Number/Date

Edo. Monagas

|

Period / Position / Date

Phone number. (0291) 6406103

4502429147 / 1 / 08.19.2014

Our responsible

R.ILF.: Branch: 1 DARVIS VAREL

GLOBAL CONSULTING LLC : Your Provider Number in our company
P.O, Box: NONE !

1 CARACAS

VENEZUELA i Your Number

A-PF-0758-2015

‘Place of provision of services | |

PUERTO LA CURZ _

"(GLOBAL

Your Responsible  —__

Term

04.01.2015 - 04.30.2015

Final Entry:

No. PF 0758-2015 PROFESSIONAL FEES MUSTAPHA BOUJANA

INVOICE NO. 0758-2015 CORRESPONDING TO
PROFESSIONAL FEES OF THE ADVISOR MUSTAPHA BOUJANA 176 M/H + 10% STIPEND

NOTE: DEDUCT THE 10% CORRESPONDING TO THE FAITHFUL PERFORMANCE BOND

|

Quantity:

Service Line Denomination Unit Price USD Net Value USD
10 176 Professional Honoraries P10 373,95 65,815.20)
_ "| ____|HIH (Man Hours) __
20 6, 581. 52/SPTIPEND (USD10%) — 1 6,581.52
‘SG
|
_ : Total Value without Sales Tax USD 72,396.72
Part Not Planned USD 0.00

_|Global's Response to 2nd Amended RTP 000074

Case 6:24-ap-00005-GER Doc46 Filed 06/20/24 Page 58 of 66

/ Explaracién y Produccién

Local Griente Soporte .
++CVR +MAILSV/FPDVSALOCVR CVR

Organizaci6n de Compra PCCO
Edif. PDVSA Exploracién y.

Produccién . .
Av. Alirio Ugarte Pelayo, Maturin | Némero/Fecha
6201, | | 1006469726 / 21.12.2015
Edo. Monagas Pedido / Posicién / Fecha
tlf£. (0291) 6406103 4502429147 / 1 / 19.08.2014
Nuestro Responsable .
R.LE.: Sucursal: 1 DARVIS VAREL
GLOBAL CONSULTING LLC Su n° Proveedor en nuestra empr.
Apartado, NO TIENE Bo
1 CARACAS —
VENEZUELA Su Numero
A-PF-0758-2015
Lugar prestacién dal Servicio , Su Persona Responsable
PUERTO LA CRUZ-ANZOATEGUI . GLOBAL

Periodo

01.04.2015 - 30.04.2015
Entrada Final: No
PF-0758-2015 HP MUSTAPHA BOUJANA

PROFORMA 0758-2015 CORRESPONDIENTES A HONORARIOS PROFESIONALES DEL
ASESOR MUSTAPHA BOUJANA
176 H/H + 10% ESTIPENDIO

NOTA: FAVOR DESCONTAR EL 10% CORRESPONDIENTE A LA PIANZA DE FIEL

CUMPLIMIENTO.
Linea Servicio Denominacién
: Cantidad Unidad Precio Unitario USD Valor Neto USD
“10 ' HONORARIOS PROFESIONALES P10
176 H/H- 373,95 65.815,20
20 ESTIPENDIO (USD 10%)
6.581,520 SG 1,00 6.581,52
Valor Total sin IVA USD 72.396,72
Parte no Planificada USD 0,00

Global's Response to 2nd Amended RTP 000074
Case 6:24-ap-00005-GER Doc46 Filed 06/20/24 Page 59 of 66

CERTIFIED TRANSLATION FROM SPANISH TO:ENGLISH

CERTIFICATION OF TRANSLATION

| hereby certify: that, ‘to'the best ofr mY: ‘knowledge; the’ foregoing. isa in acchrate translation’: from the = Span ish. into

-the'English language,:-made: by:the-u |
has :been: . given. to producing: a -reliable- translation, the “undersigned: shall. not. be: held liable for: “any,
misinterpretation or error in, ‘this: ‘translation éthér thar: to“provideupon démand ‘g. révision; ‘correcting any’such’
misinterpretation ‘or-error,.

The ‘statéments‘in: the English language i in:the:attached translation. have. the Same} meaning as the statements in:
the Spanish'language in:the: ‘document that'ihave examined.

‘Signed in Ofland6, Florida, this 2. >! payof ~

Vanessa Caetano Professional Translator

321-304-1869:
‘traducoesdedocumentos@gmail.com:

" 'Member‘of the'American Translators Association = ATA), ofA

Spanish. Language Division, Member of ATA'No. 269049-

Signature: A VE
Nanessa: ‘Caetano; Professional Translator

Certified ‘Translation’ ‘by:Vanessa Caetano:
‘A member;of the American Translators Association (ATA),
Aimember-of ATA’ Spi | Language: Division, .Member:of ATA’ No. 269049

Case 6:24-ap-00005-GER Doc 46 Filed 06/20/24 Page 60 of 66

AFFIDAVIT: OF TRANSLATOR

State:of Hocida

County:of_; Oo

Before mie this_.9S..day-of: 4 Nuon, 20 324. personallyappeared. Vawsice. Onalewo. Soh

(name_of translater) “>

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-{rame. of language) .

Lam. competent to trarislatefrom Englishinto_ Spowithy _"__ and'vice-versa.
| ” : "(nae of language);

Thavemade._ = Ween __translationof the attached’ doctitiient,.

(Can cral®.or “a.written"}:

BeAisi: Ay Deport

(idle and description of. document and’ number, af pages) — ° ” {name of fanguage) ©

into. _Gralish __and/certify:that:the-translationis-complete and accurate:

(name of language):

bs 7.20, 24, , by Vormeséec: Celene. Grmeion.

(Naimé’6f transtator), ~

apie

Notary Public Stowe ar Powe.

Printed Namieof notary public

? Signer’ 5 Tdentity verified
i. Personally:Known:
| d. Identity. ‘proven:on: the: oath. eva Shintcnins
W Identity. proven: ‘on-the. basis of. Base. Teas i

"Desens Sone

Copyright ©2011 ‘American’-Association Of Notaties's-P.O.-Box 630601 Houston, TX-77263; 1-800-721-2663 ..www.usnotafies.com
Case 6:24-ap-00005-GER Doc46 Filed 06/20/24 Page 61 of 66

EXHIBIT — “H”
Last Email from Global/Alfonsi

24
Case 6:24-ap-00005-GER Doc46 Filed 06/20/24 Page 62 of 66

------ On Thursday, Feb 23, 201715:09:25, Pedro Alfonsi <pedro.alfonsi@hotmail.com> wrote:-—--

Good afternoon Mustapha,

Thank you for confirming. | thought PDVSA had informed you that what was actually paid
Was a partial payment. We are negotiating with them so that payments continue to be
paid. The oillnews is encouraging. Apparently, PDVSA is improving its cash flow and they
are aware and willing to honor those payments as soon as possible. As | explained to you
over the phone, there are possibilities there and they want to normalize everything.

Best regards,
Pedro Alfonsi

Global's Response to 1st RTP 000044

From: Pedro Alfonsi <pedro. alfansi@hotmail.c com>

Sent: Thursday, February 23, 2017 3:09 PM

To: Mustapha Boujana <mboujana@yahoo.com>

Subject: Re: Mustapha Boujana Honorarios Profesionales PDVSA.

Buenas tardes Mustapha,

Gracias por confirmar. Pensé que PDVSA te habia informado que Io que se pag6é realmente fué
un pago parcial. Estamos negociando con ellos para que se continuen abonando pagos. Las
noticias en materia petrolera son alentadoras. Aparentemente, PDVSA esta mejorando su flujo
de caja y ellos estan concientes y propuestos a honrar dichos pagos lo antes posible, Como te
expliqué telefénicamente, hay posibilidades alla y ellos quieren normalizar todo.

: Saludos cordiales,

Pedro Alfonsi

Global's Response to ist RTP 000044
Case 6:24-ap-00005-GER Doc46 Filed 06/20/24 Page 63 of 66

CERTIFIED TRANSLATION: FROM. SPANISH: TO:ENGLISH

: CERTIFICATION OF TRANSLATION

| hereby ‘certify: that, to-the: bést:of my: knowledge; the'foregoing is:an accurate translation:from.the Spanish.into
“the’ ‘English language, made bythe: undersigned,; -who‘is.conversant' with both: languages. ‘Although full:attention:
thas been: given: to producing: ‘a:reliable: translation, ‘the. undersigned’ shall: not be: held liable for: :any.
miisintérpretation orerror: in. ‘this: ‘translation other than: -t0“providesupon demand: “@-révision,: correcting ahy’such

misinterpretation’ or: error,

The stateirients‘in;the English language jin: ‘the attached translation. have: the same! meaning as- the statements in:
the:Spanish'language‘in:the: document that'i‘have examined.

Signed in Orlando, Florida,-this 2 Ghose te

Vanessa. Caetano. Professional’ ‘Translator

321:300-1869_ .
‘traducoesdedocumentos@gmail.com:

Signature::_ MAY. .
-Nanessa: Caetano, Professional Translator”

Certified Transfation’ by; Vanessa Caetano.
‘A member, American Translators:Association’ (ATA),
‘A:member- of. ATA’ ‘Spi ish: Langtiage Division, Member-of: ATA’ No: 269049

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AFFIDAVIT: OF TRANSLATOR.

Staté-of.,

Gounty-of | Ordnagg.

‘Before me this S--day off vay, 20 an a ‘personally: ‘appeared: Vowissen Cosle-we. Glmuior’

. wy ~ {flame of translater)- o"' -*”

who:being:sworn by the undersigned notary pie sites

Lam capable of reading and-writing both English. and__ Gpawtetn

“rame af langage) —

liam. competent to: translate from: JBnglish‘ into_ Soporni thy oe _.. ‘and vice-versa:

{name of Tanguage)

Thave made.  Wettewn ——_—__ translation of the attached doctinient,

(Can orator ‘a-wrillen")

{litle and description ‘of. document:and number sf pages) : fname 08 Tanguay

into, _ Evroyhin ,and certify that thé translation is:complete aiid accurate,

“(name’of longuage):

‘Sworn to; and: ‘signed before:me:this. 2S. day: of, 20_.24:., by Maine skie Celene, Sameen

 (Naine’ Of: translator).

: Signer’ 8 Tdentity verified by:
iy. Personally:Known:

_ O Identity proven:on the-onth,, | a

: W identity. -proven:on-the. basis ¢. Sis: Tsai AD A

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EXHIBIT — “02”

Proof of Service of Discovery Requests (Exhibit-01) as filed on May 23, 2024

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UNITED STATES BANKRUPTCY COURT

MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION F I LE D
www.flmb.uscourts.gov Date: 04/23/2024 @ 2:37 PMyja:email
Clerk, U.S. Bankruptcy
In re: Orlando Division
Chapter 11
Debtor.
| MUSTAPHA BOUJANA,
Plaintiff, Adv. Proc. No. 6:24-ap-00005-GER
State Court Case No.:
vs. 2022-CA-001733-O
GLOBAL CONSULTING, INC., and
PEDRO ALFONSI
Defendants.

AMENDED! PROOF OF SERVICE BY NON-ATTORNEY

1 hereby certify that a true copy of Interrogatories, Requests for Admissions, and
Requests for Production Documents was served on April 21%, 2024 via Email to Global
Consulting, LLC (“Global”) and its Principal Pedro Alfonsi at pedro.alfonsi@hotmail.com,

. and to Kenneth D. Herron Jr. (Global’s attorney) at chip@herronhilllaw.com.

: [declare under penalty of perjury that the foregoing is true and correct. Executed on April 21%,

2024.

By: /s/ Mustapha Boujana
Mustapha Boujana, pro se

mboujana@yahoo.com

! Amendment only to correct a typing error in Date.
